B4 (Official Form 4) (12/07)

United States Bankruptcy Court

District Of Kansas

Inre Ethanex Energy, Inc.
Debtor

; Case No.

 

Chapter 7

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

Following is the list of the debtor’s creditors holding the 20 largest unsecured claims. The list is
prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case.
The list does not include (1) persons who come within the definition of “insider” set forth in 11 U.S.C.
§ 101, or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the
creditors holding the 20 largest unsecured claims, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

(1) (2) (3) (4) (5)
Name of creditor Name, telephone number and Nature of claim Indicate if claim Amount of claim
and complete complete mailing address, (trade debt, bank is contingent, [if secured also
mailing address, including zip code, of loan, government unliquidated, state value of
including zip employee, agent, or department contract, etc.) disputed or security]
code of creditor familiar with subject to setoff

claim who may be contacted

See Attachment A

 

 

Date: 03/27/2008

/s/ Albert W. Knapp, II President and CEO
Debtor

 

[Declaration as in Form 2]

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LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

ATTACHMENT A

 

Name of creditor and complete
mailing address,
including zip code

Phone #

Nature of claim
(trade debt, bank
loan, government

contract, etc.)

Indicate if claim is
contingent,
unliquidated,
disputed or subject
to setoff

Amount of
claim [if
secured also
state value of
security}

 

Agra Industries, Inc.
1211 West Water Street
Merrill, WI 54452

(715) 536-9584

Consulting Services

Disputed

$ 10,944.69

 

Bagell, Josephs, Levine & Co., LLC
406 Lippincott Drive, Suite J
Marlton, NJ 08053

(856) 346-2828

Accounting Services

Disputed

$ 40,000.00

 

Bank of America Credit Card
PO Box 15731
Wilmington, DE 19886

(888) 449-2273

Company Expenses

Disputed

$ 15,000.00

 

Brown & Caldwell
PO Box 45208
San Francisco, CA 94145

(800) 727-2224

Consulting Services

Disputed

$ 9,316.00

 

Chadbourne & Parke
1200 New Hampshire Ave. NW
Washington, D.C. 20036

(202) 974-5655

Legal Services

Disputed

$ 158,200.22

 

Chapman Cutler LLP
111 West Monroe Sireet
Chicago, IL 60603-4080

(312) 845-3000

Legal Services

Disputed

$ 20,000.00

 

DLA Piper US LLP
PO Box 75190
Baltimore, MD 21275

(212) 335-4998

Legal Services

Disputed

$ 20,000.00

 

First Advantage Litigation Consulting
PO Box 277926
Atlanta, GA 30384

(626) 921-16618

Legal Services

Disputed

$ 73,000.00

 

Industrial Power Technology
2227 Capricorn Way, Suite 101
Santa Rosa, CA 95407

(707) 528-9909

' |Administrative

Services

Disputed

$ 8,493.83

 

KL Process Design Group, LLC
2693 C Commerce Road
Rapid City, SD 57702

(605) 718-0372

Consulting Services

Disputed

$ 10,000.00

 

Kraemer, Thomas
12175 Maple Springs Drive, SW
Alexandia, MN 56308

Services Rendered

Disputed

$ 8,095.92

 

Milbank, Tweed, Hadley & McCloy LLP
One Chase Manhattan Plaza
New York, NY 10005

(212) 530-5000

Legal Services

Disputed

$ 50,000.00

 

Muse, Stancil & Co.
15455 Dallas Parkway, Suite 200
Addison, TX 75001

(214) 954-4455

Consulting Services

Disputed

$ 25,000.00

 

1000 IDS Center
80 South Eighth St.
Minneapolis, MN 55402

(612) 347-6789

Consulting Services

Disputed

$ _ 10,204.99

 

 

Nitze, William
1537 28th Street, NW
Washington, DC 20007

 

 

Services Rendered

 

Disputed

 

 

$ 7,586.42

 

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R.W. Beck, Inc.

MEDITECH Corporate Center
550 Cochituate Rd.

4th floor, West Wing
Framingham, MA 01701-4654

(508) 935-1661

Consulting Services

Disputed

58,562.75

 

Reece and Nichols

Attn: Sherry Shandalove
4370 W. 109th, Suite 100
Overland Park, KS 66211

(913) 696-9633

Relocation Services

Disputed

40,000.00

 

University of Georgia

Amy B. Batal, Ph.D.

208 Poultry Science Building
110 Cedar Street

Athens, GA 30602-2772

(706) 542-6259

Feed Trial Work

Disputed

15,789.00

 

University of Illinois
211 Mumford Hall
301 W. Gregory Dr.
Urbana, IL 61801

(217) 333-3462

Feed Trial Work

Disputed

25,500.00

 

 

University of Missouri

Dr. Gary Allee

111 Animal Science Research Center
Division of Animal Sciences
Columbia, MO 65211

 

(573) 882-1381

 

Feed Trial Work

 

Disputed

 

 

27,000.00

 

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